
USCA1 Opinion

	










                            United States Court of Appeals
                                For the First Circuit

                                 ____________________


          No. 94-1235

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                             LUIS CARTAGENA-CARRASQUILLO,

                                Defendant, Appellant.

                                 ____________________

          No. 94-1236

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                  CARLOS LUGO-LOPEZ,

                                Defendant, Appellant.

                                 ____________________

          No. 94-2127

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                               JOSE L. FIGUEROA-GARCIA,

                                Defendant, Appellant.

                                 ____________________

                    APPEALS FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                    [Hon. H ctor M. Laffitte, U.S. District Judge]
                                              ___________________
                     [Hon. Morton A. Brody,* U.S. District Judge]
                                             ___________________














                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________

                                 Lynch, Circuit Judge,
                                        _____________

                             and Watson,** Senior Judge.
                                           ____________

                                 ____________________

               Roberto  Rold n Burgos,  by  appointment of  the court,  for
               ______________________
          appellant Cartagena-Carrasquillo.
               Miriam Ramos  Grateroles, by  appointment of the  court, for
               ________________________
          appellant Lugo-L pez.
               Theodore  L.  Craft,  by   appointment  of  the  court,  for
               ___________________
          appellant Figueroa-Garc a.
               Nelson  P rez-Sosa Cruz,  Assistant United  States Attorney,
               _______________________
          with whom  Guillermo Gil, United  States Attorney, was  on brief,
                     _____________
          for appellee.


                                 ____________________

                                   December 1, 1995
                                 ____________________

          *Of the District of Maine, sitting by designation.
          **Of  the   U.S.  Court   of  International  Trade,   sitting  by
          designation.






















                                         -2-















                      LYNCH,  Circuit  Judge.    Cocaine  trafficking  in
                      LYNCH,  Circuit  Judge.
                              ______________

            Puerto Rico resulted in the criminal convictions of the three

            appellants, who raise  issues primarily as to  the conduct of

            their trials.  Two issues -- the exclusion of expert evidence

            attempting  to  establish  an   insanity  defense  based   on

            Posttraumatic Stress  Disorder claimed to have  resulted from

            military  service  in  Vietnam   and  the  prosecutor's  ill-

            considered reference  to religion in his  closing argument --

            merit close discussion.  We affirm, rejecting the defendants'

            challenges on these and other grounds.



            Facts and Trial Proceedings
            ___________________________

                      In the  summer of 1992, Jefferson  Mor n, a special

            agent  with  the  Drug  Enforcement  Administration  ("DEA"),

            learned  from  a confidential  informant, Ram n  Malav , that

            defendant  Carlos  Lugo-L pez   was  interested  in   selling

            kilogram quantities  of cocaine.  On  instruction from Mor n,

            Malav  confirmed Lugo-L pez' interest in a phone conversation

            and later called to  negotiate the purchase of  two kilograms

            of  cocaine.  Malav  told Lugo-L pez that he could page Mor n

            (whom Malav  said would  handle the money) when he  was ready

            to make the transactions.  Lugo-L pez had Mor n paged.  Lugo-

            L pez  left a  message for  Mor n that  the "contracts"  were

            ready  and that he should  drop by Lugo-L pez'  house to pick

            them up.  



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                                          3















                      Malav  went to  the Lugo-L pez residence, where  he

            met  the  supplier,  defendant  Luis  Cartagena-Carrasquillo.

            Cartagena-Carrasquillo  left,  saying  that he  would  return

            right  away  with the  drugs.   Cartagena-Carrasquillo  later

            returned with  defendant Jos   L. Figueroa-Garc a and  a bag.

            They  went  to  a room  at  the  rear  of  the carport  where

            Cartagena-Carrasquillo opened the  bag and took out a kilo of

            cocaine.

                      During phone conversations between Mor n and Malav 

            while Malav  was  at Lugo-L pez' house,  Malav  said two  men

            had arrived to  sell two of the four kilograms  of cocaine in

            the bag.  Lugo-L pez asked Malav  to call his partner, Mor n,

            to  come and put up the money.   In a round robin, Lugo-L pez

            kept insisting that the  money be brought to his  house while

            Malav , on instructions from  Mor n, tried to lure Lugo-L pez

            to San Juan (where  an arrest would be easier)  with promises

            he would be paid there.   At some point during the  series of

            pages   and   telephone  calls,   Cartagena-Carrasquillo  and

            Figueroa-Garc a left to  sell one  of the  kilos to  another.

            When  the  two returned,  Lugo-L pez  and  Malav  were  still

            sallying about where  the sale would take  place.  Cartagena-

            Carrasquillo got upset with the delay  and left in a car with

            Figueroa-Garc a.

                      Law enforcement agents shadowed the car, driven  by

            Figueroa-Garc a,  and saw  Cartagena-Carrasquillo get  out of



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                                          4















            the  car carrying a tan bag.   When agents approached him, he

            got back into the car  and fled with Figueroa-Garc a.   A car

            chase  resulted, ending in a public housing project.  The two

            men fled by  foot and were  ultimately arrested.   Cartagena-

            Carrasquillo,  who had  the  tan bag  in  his hands  when  he

            abandoned  the car,  did not  have it  when he  was arrested.

            Agents later found  it in a  trash can in  the area where  he

            first  fled on foot.  It contained three kilograms of cocaine

            and $12,900 in cash.

                      On June 17,  1992, a  grand jury  returned a  four-

            count   indictment   charging  that   Lugo-L pez,  Cartagena-

            Carrasquillo,  Figueroa-Garc a,  and   another,  aiding   and

            abetting each other, possessed with intent to distribute some

            3303.96  grams  of  cocaine  in  violation  of  21  U.S.C.   

            841(a)(1)  and 18 U.S.C.   2.  Lugo-L pez was also charged in

            two  counts with  using a  telephone in  furtherance  of drug

            distribution in violation of 21 U.S.C.   843(b).

                      Trial  started on  November 30,  1993.   After four

            days of  testimony, defendants  requested and were  granted a

            mistrial.   Cartagena-Carrasquillo  and Lugo-L pez  moved for

            dismissal on  double jeopardy grounds.   The district court's

            denial of the motion was appealed.

                      While that  appeal was  pending, this case  went to

            trial  for the  second  time  on  February  14,  1994.    The

            defendants were found guilty of all counts.  The appeals from



                                         -5-
                                          5















            the conviction  were consolidated  with the appeals  from the

            denial  of  the  motion  to  dismiss  on  grounds  of  double

            jeopardy.



            Post-Traumatic Stress Disorder
            ______________________________

                      Lugo-L pez argues there was  error in the exclusion

            of  his  proffered expert  testimony  that  he suffered  from

            Posttraumatic Stress Disorder  ("PTSD") and  his attempts  to

            base an insanity defense on PTSD.1 

                      The insanity defense, set forth at  18 U.S.C.   17,

            is an affirmative defense.  The burden is on the defendant to

            show by clear and convincing evidence, see 18 U.S.C.   17(b),
                                                   ___

            that:

                      at the time of the commission of the acts
                      constituting the  offense, the defendant,
                      as a result of a severe mental disease or
                      defect,  was  unable  to  appreciate  the
                      nature and quality or the wrongfulness of
                      his acts.  Mental  disease or defect does
                      not otherwise constitute a defense.




                                
            ____________________

            1.  Lugo-L pez  is a  Vietnam   veteran  who asserted  he was
            exposed  to Agent  Orange, has  been hospitalized  for mental
            illness and  had been  diagnosed as  schizophrenic.  He  also
            asserted  that  he  suffers  from PTSD,  which  is  a  mental
            disorder recognized in the  Diagnostic and Statistical Manual
                                        _________________________________
            of Mental Disorders 424-29 (4th ed. 1994).  PTSD is caused by
            ___________________
            exposure to an extreme traumatic stressor involving actual or
            threatened death or  serious injury or other  threat to one's
            physical integrity and  tends to result  in symptoms such  as
            re-experiencing  the traumatic  event,  a  tendency to  avoid
            stimuli  associated  with  the  trauma,  numbing  of  general
            responsiveness, and increased arousal.  Id. at 424.
                                                    ___

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                                          6















            18  U.S.C.    17(a).   There  is  a procedural  component  to

            assertion of the defense as  well.  Rule 12.2 of  the Federal

            Rules  of  Criminal  Procedure  requires that  notice  of  an

            intention  to raise the insanity defense must be given by the

            defendant to the government "within the time provided for the

            filing of pretrial motions or at such later time as the court

            may  direct."   If  such notice  is  not given,  the insanity

            defense may not be raised.

                      The   trial  court   excluded  the   PTSD  evidence

            primarily because  it felt  inadequate notice had  been given

            and   secondarily  because   it  thought  the   evidence  was

            insufficient  in  any event.    The  standard of  review  for

            excluding  the   testimony  under  Rule  12.2   is  abuse  of

            discretion.   See United  States v.  Cameron, 907  F.2d 1051,
                          ___ ______________     _______

            1059  (11th Cir.  1990);  United States  v. Weaver,  882 F.2d
                                      _____________     ______

            1128,  1136 (7th  Cir.), cert.  denied sub  nom.  Schwanke v.
                                     _____  ______ ___  ____  ________

            United States, 493 U.S. 968 (1989); United  States v. Duggan,
            _____________                       ______________    ______

            743 F.2d 59, 80 (2d Cir. 1984).   A district court's decision

            to admit or  exclude expert  testimony is  entitled to  great

            deference and will be reversed only if:  (1) the decision was

            based on  an incorrect  legal standard  or (2)  the reviewing

            court  has a  "'definite and firm  conviction that  the court

            made a clear error  of judgment in the conclusion  it reached

            based  upon a  weighing  of the  relevant factors.'"   United
                                                                   ______

            States v. Shay,  57 F.3d  126, 132 (1st  Cir. 1995)  (quoting
            ______    ____



                                         -7-
                                          7















            United States v. Benavente Gomez, 921 F.2d 378, 384 (1st Cir.
            _____________    _______________

            1990)); see also  United States  v. Brien, 59  F.3d 274,  277
                    ___ ____  _____________     _____

            (1st  Cir. 1995)  ("[T]rial  judges have  traditionally  been

            afforded   wide  discretion   to  admit  or   exclude  expert

            evidence."), cert. denied,  ___ S. Ct. ___,  94 U.S.L.W. 3316
                         _____ ______

            (1995).

                      The insanity defense was  not raised in the aborted

            first trial, nor was it  raised when Lugo-L pez asserted  and

            lost  the issue of whether  he was competent  to stand trial.

            One  month  after  the  mistrial, Lugo-L pez  first  filed  a

            written motion on January  11, 1994, giving notice of  a PTSD

            defense.  The motion  indicated that Lugo-L pez would present

            the testimony  of both Luis Falc n-Torres,  his caseworker at

            the Puerto Rico Vietnam  Veteran's Assistance Program, and an

            as yet unnamed expert on PTSD.  The motion also said that the

            facts  surrounding the  commission of  the crime  showed that

            defendant  was  suffering  from  delusions or  a  disease  or

            disorder that affected his conduct.  The motion was discussed

            in a February 1, 1994 status conference and the judge hearing

            that motion "noted" that Lugo-L pez "shall raise at trial the

            defense  of  insanity" and  that  "[t]he  issue whether  post

            traumatic stress disorder is  admissible shall be resolved at

            trial."  

                      The   government,   aware   only   of   psychiatric

            evaluations performed by a Dr. Cabrera earlier on defendant's



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                                          8















            competence  to  stand  trial,   on  February  4  requested  a

            preliminary hearing on the admissibility of the proposed PTSD

            testimony.  On  February 9, Lugo-L pez responded  and filed a

            motion  stating his  intent to  offer a  Dr. Santiago  as his

            expert witness and requesting authorization for this expert's

            services.   The  authorization was  granted, and  counsel was

            "reminded that the admissibility  of Dr. Santiago's testimony

            [would be] left to the trial judge."

                      Trial started before a different judge  on February

            14.   At no time did Lugo-L pez file proposed instructions on

            an  insanity defense, although on  the first day  of trial he

            did  file  a  memorandum of  law  as  to  whether PTSD  could

            constitute an insanity defense.  On the fifth day of the six-

            day  trial, the issue of the PTSD defense came up indirectly,

            during  colloquy  concerning  an  objection   to  the  social

            worker's testimony  as to Lugo-L pez' war  record and medals.

            The court noted at a  sidebar conference that such  testimony

            would be admissible,  if at  all,2 only if  the PTSD  defense

            was admissible and asked  to see psychiatric expert's report.

            Later, after review  of the report, the trial  court excluded

            the insanity defense.

                                
            ____________________

            2.  The  trial  judge later  ruled  the war-record  testimony
            inadmissible for  other reasons.   Thus, we  understand Lugo-
            L pez' appeal on the insanity defense issue to be focussed on
            the exclusion  of the  expert testimony of  his psychiatrist.
            The social  worker's testimony was not  intended to establish
            the  defense;  at  most  it would  buttress  the  psychiatric
            testimony.

                                         -9-
                                          9















                      The defense  was, we think, timely  raised in light

            of the pre-trial  rulings of the conference judge  noting the

            raising of the defense  and reserving the admissibility issue

            to  trial and the later authorization of the retention of the

            psychiatric expert.  See Cameron, 907  F.2d at 1059.  But  we
                                 ___ _______

            also  hold that there was no abuse in excluding the testimony

            proffered  for  certain other  reasons  stated  by the  trial

            judge.   The trial judge found that Dr. Santiago's report was

            at best conclusory  in that it did "not show  in what way the

            PTSD   syndrome   could   relieve   the   defendant   of  the

            responsibility  for the  crimes charged"; that  the testimony

            was insufficient as  a matter of law in that it did not go to

            Lugo-L pez' state of mind  on the dates of commission  of the

            crimes charged,  and that it  would be unduly  prejudicial in

            violation of Rule 403 in light of its lesser probative value.

                      The only witness proffered to establish the defense

            was Dr. Santiago.  As to PTSD, the expert's report stated, in

            pertinent part:

                      [Lugo-L pez] justifies  his behavior with
                      his  special army  training and  his Viet
                      Nam  experience when his  main problem is
                      his poor judgment -- he cannot anticipate
                      the consequences of  his behavior most of
                      the time.  His schizophrenic make up adds
                      to his difficulties.

            The psychiatrist's diagnosis was that:

                      [C]ocaine and heroin use and dependency .
                      . . together with his  schizophrenic make
                      up explain his  grandiose and  delusional



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                                          10















                      behavior, [e]specially in relation to the
                      informant during investigation.

            The report concluded:

                      There is no doubt  that the patient meets
                      the criteria for a P.T.S.D. patient [and]
                      was  having delusions  when he  was being
                      intervened  (sic)  by a  D.E.A. confident
                      (sic)  and it is  confirmed in the report
                      prepared by D.E.A. agents. . . .   At the
                      time  of the  intervention of  the D.E.A.
                      representatives, Mr. Lugo because  of his
                      delusions of grandeur  had a  significant
                      mental disease and was unable  to conform
                      his  conduct to  the requirements  of the
                      law.

                      There was  no abuse of discretion  in excluding the

            testimony  based on this  proffer.  The  report is singularly

            unfocussed  and does not address  whether at the  time of the

            commission of the crimes charged, Lugo-L pez "as a result  of

            a severe mental  disease or defect, was  unable to appreciate

            the nature  and quality or the wrongfulness  of his act."  18

            U.S.C.    17.  As the  statute itself says, the  mere fact of

            "mental  disease or  defect does  not otherwise  constitute a

            defense."  Id.
                       ___

                      The report does not  establish that Lugo-L pez  was

            suffering  from a  "severe" mental  disorder  at the  time of

            commission  of the  offenses; at  most, it  characterizes his

            claimed  disorder  as  "significant."    Indeed,  the  report

            recounts  that by 1992, the year of the crime, Lugo-L pez had

            stopped using his drugs  of choice, heroin and cocaine.   His

            hospitalizations for  schizophrenia  had  been  more  than  a



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                                          11















            decade  before.   His  mental  status  at  the  time  of  Dr.

            Santiago's   examination  was   described  as   "mild[ly]  to

            moderate[ly]  depress[ed],"  "logical  and coherent"  but  at

            times  "irrelevant,"  "well  oriented  in  time,  place,  and

            person," suffering from "poor judgment" and being "insecure."

            The legislative history of 18 U.S.C.   17 reveals that:

                      The  concept of  severity  was  added  to
                      emphasize  that   non-psychotic  behavior
                      disorders   or   neuroses   such  as   an
                      "inadequate    personality,"    "immature
                      personality,"  or  a  pattern  of  "anti-
                      social
                           tendencies"donot
                                          constitutethedefense.

            S.  Rep.  No.  98-225,  98th  Cong.,  2d  Sess.  229  (1984),

            reprinted in U.S.C.C.A.N. 3182, 3411, quoted in United States
            ____________                          _________ _____________

            v. Salava, 978 F.2d 320, 323 (7th Cir. 1992).
               ______

                      There is nothing in the psychiatrist's report which

            suggests  that  the  defendant  did  not know  or  could  not

            appreciate  that selling  cocaine was  wrong.   At  best, the

            report accepts and repeats Lugo-L pez' statements that he was

            suffering delusions at the time that Malav  approached him to

            ask whether he would  sell Malav  drugs.  Lugo-L pez  said he

            was "feeling" he was a CIA spy with connections to the police

            in  Haiti.  The report does not  link such a delusion with an

            incapacity to  determine whether  selling  cocaine is  wrong.

            Moreover, there  is no explanation  as to why  such delusions

            would be associated  with PTSD.  And there  is no evidence in

            the report  or otherwise  that Lugo-L pez was  suffering from

            any effects, delusional  or otherwise, on the  dates when the


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                                          12















            crimes   --   the   drug   transaction  and   the   telephone

            conversations -- actually took place.

                      The psychiatrist's  testimony is the  only evidence

            the defendant offered to establish the insanity defense.  The

            psychiatrist's report  is inadequate  to establish that  as a

            result  of his PTSD Lugo-L pez was  "unable to appreciate the

            nature and quality or the wrongfulness of his acts."  See  18
                                                                  ___

            U.S.C.    17(a);  Duggan, 743  F.2d at  81 (expert  affidavit
                              ______

            asserted that "as a  result of [PTSD], [defendants] were  not

            able  to  conform their  conduct to  the requirements  of the

            law,"  but  contained no  evidence  or  clinical findings  in

            support of these conclusions and was thus inadequate to raise

            the insanity defense in compliance with Rule 12.2); see  also
                                                                ___  ____

            United States v. Whitehead, 896 F.2d 432, 435 (9th Cir. 1990)
            _____________    _________

            (jury not permitted to consider defense where testimony could

            not  establish  with  convincing  clarity  that  PTSD  caused

            defendant to be unable to appreciate the wrongfulness of bank

            robbery), cert. denied, 498  U.S. 938 (1990).3  The  district
                      _____ ______

            court  did not apply an  incorrect legal standard  or make an

            error in judgment in excluding the psychiatrist's testimony.



                                
            ____________________

            3.  We also  note, but do not rest our decision on, the trial
            judge's concern under Rule  403.  Cf. United States  v. Shay,
                                              ___ _____________     ____
            57 F.3d 126,  133 (1st  Cir. 1995).   The proffered  insanity
            defense,  supported  only  by  vague,  weak   and  conclusory
            testimony,  could skeptically be viewed as  only a pretext to
            get before the  jury the extremely sad and  sympathetic story
            of a much decorated Vietnam war hero gone far astray.

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            Religious Reference
            ___________________

                      Cartagena-Carrasquillo,  who throughout  trial wore

            white clothing, a possible marker  of adherence to a minority

            religious  sect, now  objects on  appeal to  the prosecutor's

            closing arguments  which, in an apparent  effort to discredit

            the defendant's  testimony, embraced Catholicism.   While the

            prosecutor's argument was improper, that is not enough to win

            the  day for  this defendant,  who did  not properly  make or

            preserve  his objection, and as to whom the evidence of guilt

            was overwhelming.

                      We know only from  assertions of defense counsel on

            this  appeal, which  the  government on  questioning at  oral

            argument  conceded,  that  Cartagena-Carrasquillo wore  white

            clothing at trial  and that  this manner of  dress in  Puerto

            Rico may symbolize membership  in a minority religious group.

            We do not know, nor apparently  did the jury, whether he  was

            in fact  a member of  such a  group nor the  strength of  the

            inference that he might be.  Nothing was put on the record.

                      The  closing argument,  though, is  on  the record.

            The prosecutor argued:

                      When we live in the same neighborhood, we
                      go  to the  same  church, when  we go  to
                      church,   we   come  out,   we   talk  to
                      everybody.  Now that we are in [L]ent and
                      this is in "Cuaresma", we do "via crusis"
                      where we go from house to house and say a
                      prayer and meet the people there.





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                                          14















            The prosecutor's reference to Lent ("Cuaresma"), to doing the

            way of the cross  ("via crusis"), to saying prayers,  and the

            use  of  the term  "we"  suggested  an alliance  between  the

            government  and a  church to which,  presumably, many  of the

            jurors,  but  not  the  defendant, belonged.    Injection  of

            religion  into the case was flatly wrong and contrary to what

            the public has a right to expect of government prosecutors.

                      Cartagena-Carrasquillo  objected to  the reference.

            The court  responded it  would hear  the  objection later  at

            sidebar  and  asked counsel  to keep  the objection  in mind.

            During the  sidebar conference, the objection  was not raised

            again  and there was no request for a curative instruction or

            other curative action.

                      Cartagena-Carrasquillo  argues  that  even  in  the

            absence  of a renewed objection or  a request for instruction

            that  the  trial judge  was  obligated  to  give  a  curative

            instruction  sua sponte.   While there  may be  situations in
                         ___ ______

            which  the  imposition of  sua  sponte  obligations on  trial
                                       ___  ______

            judges  has  been considered,  see,  e.g.,  United States  v.
                                           ___   ____   _____________

            Santiago  Soto, 871 F.2d  200, 202 (1st  Cir.), cert. denied,
            ______________                                  _____ ______

            493  U.S. 831 (1989), we decline to impose one here.  Whether

            an instruction  will "cure"  a  problem or  exacerbate it  by

            calling more attention to it than warranted is within the ken

            of counsel and part of litigation strategy and judgment.  The





                                         -15-
                                          15















            obligation  to  suggest  the  appropriate response,  if  any,

            rested on defense counsel. 

                      Balancing,  on  Cartagena-Carrasquillo's part,  the

            failure  to  properly give  notice to  the  trial court  of a

            desire for  remedial instruction,  to preserve the  issue, or

            even  to create  a  proper record,  against the  isolated but

            seemingly deliberate  injection of religion into  the case by

            the prosecutor,  we turn to a test adopted by this Court in a

            more  straightforward case,  United States  v. Hodge-Balwing,
                                         _____________     _____________

            952  F.2d 607,  610 (1st  Cir. 1991).   In  reviewing whether

            improper  remarks  in  a  closing argument  are  grounds  for

            reversal in that they "so poisoned the well" that the trial's

            outcome  was  likely  affected,   this  court  considers  the

            following factors:  "(1) whether the prosecutor's conduct was

            isolated and/or deliberate; (2)  whether the trial court gave

            a strong and explicit cautionary instruction; and (3) whether

            it is likely that any prejudice . . . could have affected the

            outcome of the case."  Id.
                                   ___

                      As to  the first prong, "[d]efendant's religion has

            no bearing whatsoever  on any legitimate issue in  the case."

            United  States v. Goldman, 563 F.2d 501, 504 (1st Cir. 1977),
            ______________    _______

            cert.  denied,  434 U.S.  1067 (1978).    But a  reference to
            _____  ______

            religion does not necessarily require  reversal.  Id. at 505.
                                                              ___

            Second, while  there was no curative  instruction here, there

            was   no  request  for  one,  and  we  do  not  discount  the



                                         -16-
                                          16















            possibility  that  the  failure to  make  the  request was  a

            tactical choice  by defense  counsel.  See  United States  v.
                                                   ___  _____________

            Brandon, 17 F.3d 409,  446 (1st Cir. 1994), cert.  denied sub
            _______                                     _____  ______ ___

            nom. Granoff v. United States, 115 S. Ct. 80 (1994)  and Ward
            ____ _______    _____________                        ___ ____

            v. United States, 115 S. Ct. 81 (1994).
               _____________

                      We turn,  then, to the  third prong  of the  Hodge-
                                                                   ______

            Balwing  test and ask whether it is likely that any prejudice
            _______

            could have affected the  outcome of the case.   The religious

            references  in the  prosecutor's closing  were less  a direct

            appeal to religious  prejudice than  in other  cases we  have

            considered (such as Goldman) and there is less reason here to
                                _______

            draw an  inference of prejudice.   On objection,  the remarks

            stopped.  

                      The instructions  given to the jury  assisted it in

            keeping  to the  path before  it, free  from prejudice.   The

            district  court  instructed  the  jury to  perform  its  duty

            "objectively  without any  bias  or without  any  prejudice,"

            reminded the jury that  the defendants were presumed innocent

            unless guilt was established  beyond a reasonable doubt, told

            the  jury that statements  of counsel were  not evidence, and

            explicitly set out the  elements of the crimes charged.   See
                                                                      ___

            United  States v.  Giry,  818  F.2d  120, 132-33  (1st  Cir.)
            ______________     ____

            (prosecutor's  improper  closing   argument  that   defendant

            "sounds  like Peter who for the third time denied Christ" was

            deliberate and unprovoked,  but was not  objected to and  did



                                         -17-
                                          17















            not   produce  plain   error   in  light   of  overall   jury

            instructions,  even  without   an  instruction   specifically

            addressed to the prejudicial comment), cert. denied, 484 U.S.
                                                   _____ ______

            855 (1987).

                      Further,  the evidence  of guilt  was  very strong.

            Cartagena-Carrasquillo  was introduced  by Lugo-L pez  as the

            supplier.   He  arrived at  the Lugo-L pez  house with  a bag

            containing cocaine.   He left  the house with  the bag,  fled

            when approached  by law enforcement agents, led the agents on

            a car chase, left the car  with the bag in hand, and  the bag

            containing  cocaine was  found soon  after  the arrests  in a

            trash can in the area where he had been.



            Double Jeopardy
            _______________

                      Both the origins  and demise of defendants'  double

            jeopardy  claims lie in the termination of the first trial by

            mistrial.

                      The mistrial  was declared  by the judge  after the

            government's first witness, Malav , was observed going into a

            witness  room with DEA special  agent Mor n.   Mor n had been

            assigned to protect the witness, a confidential informant and

            the  only witness  to the  drug transaction.   The  court had

            given  a general  instruction to  all witnesses  not to  talk

            about their  testimony.  Although  there was  no evidence  of

            violation  of  that  instruction,  an  objection  by  defense



                                         -18-
                                          18















            counsel to the two talking precipitated  a defense motion for

            mistrial, which  was allowed.   The trial  court specifically

            held  that there was no  misconduct by the  prosecutor and no

            intent to goad a  mistrial.  Those fact findings  are subject

            to  a clearly erroneous standard of review.  United States v.
                                                         _____________

            Serra, 882 F.2d 471, 473 (11th Cir. 1989).  The trial court's
            _____

            denial  of  defendants' motion  to  dismiss  based on  double

            jeopardy  is subject  to de  novo review.   United  States v.
                                     __  ____           ______________

            Aguilar-Aranceta, 957  F.2d 18, 21 (1st  Cir.), cert. denied,
            ________________                                _____ ______

            113 S. Ct. 105 (1992).

                      Defendants   contend  that   the  conduct   of  the

            government's  witness  and  the  DEA agent  was  designed  to

            produce  a mistrial.   This  is based  on  a theory  that the

            witness  felt he had not testified well, that he attempted to

            signal  his discomfort to the prosecution in full view of the

            defense, and that the hostility expressed by the DEA agent to

            defense counsel  when they confronted him  about meeting with

            the witness  all were intended to goad defendants into moving

            for a mistrial.  The government's  hypothesized gain would be

            a second  chance  for its  key witness  to do  a better  job.

            Theory is not fact and  the trial court specifically rejected

            the theory as not based on the facts.  Nothing  in the record

            suggests its findings were clearly erroneous.

                      Because  the defendants  consented to  the mistrial

            declaration  and because there was  no basis to conclude that



                                         -19-
                                          19















            the  conduct  giving rise  to  the mistrial  was  intended to

            provoke the defendant  into moving for a mistrial,  there was

            no double jeopardy bar to  reprosecution.  Oregon v. Kennedy,
                                                       ______    _______

            456 U.S. 667, 675-76  (1982); United States v. Perez Sanchez,
                                          _____________    _____________

            806 F.2d  7, 8  (1st Cir. 1986),  cert. denied, 480  U.S. 922
                                              _____ ______

            (1987).  "Only where the governmental conduct in  question is

            intended  to 'goad' the defendant  into moving for a mistrial

            may a defendant raise  the bar of double jeopardy to a second

            trial after having succeeded in aborting the first on his own

            motion."  Kennedy, 456 U.S. at 676.
                      _______



            Filing of Information Under 21 U.S.C.   851
            ___________________________________________

                      Late  on February  10,  1994, the  day before  jury

            selection started for the  second trial, the government filed

            and  faxed to counsel for Lugo-L pez  an information under 21

            U.S.C.     851(a)(1)  seeking  an  enhancement of  penalties.

            While such  cliff-hanging practices are not  wise, the filing

            was  made before  jury selection,  and that  is all  that was

            required.   Kelly v. United  States, 29 F.3d  1107, 1110 (7th
                        _____    ______________

            Cir.  1994) (citing  cases).   That  the information  was not

            filed  during the first trial did not bar the government from

            seeking  an enhanced  penalty during  the second,  unless the

            government sought  to punish  the defendant for  exercising a

            constitutional  or statutory  right.   See  United States  v.
                                                   ___  _____________

            Goodwin,  457 U.S. 368, 384  (1982).  Lugo-L pez alleges that
            _______



                                         -20-
                                          20















            the  prosecution   made  the   last  minute  filing   of  the

            information out of prosecutorial vindictiveness  arising from

            earlier dealings in the case.  Even if seeking an enhancement

            before the second trial that was not sought before an earlier

            trial  were sufficiently  likely to  be vindictive  so as  to

            warrant a presumption of  vindictiveness, the prosecutor here

            rebutted that  presumption.  See United  States v. Marrapese,
                                         ___ ______________    _________

            826  F.2d 145,  149 (1st  Cir.), cert.  denied, 484  U.S. 944
                                             _____  ______

            (1987).   The district court, after  hearing the government's

            reasons for  the eve-of-trial filing,  determined that  there

            was  no vindictiveness.  There  is no reason  to disturb that

            finding.

                      Lugo-L pez also contends  that the information  was

            signed  by  an  unauthorized  person  and  contained  certain

            mistakes  of fact.    This contention  is  unavailing.   Even

            assuming  that an  Assistant United  States Attorney  was not

            authorized  to  sign  the  information, that  and  the  other

            mistakes could  be and were corrected  prior to pronouncement

            of the sentence, as permitted under the statute.



            Sufficiency of the Evidence
            ___________________________

                      The claims by Cartagena-Carrasquillo and Figueroa-

            Garc a that  the evidence  was insufficient to  support their

            convictions  are without  merit,  as the  description of  the

            facts of record amply demonstrates.



                                         -21-
                                          21















            Chain of Custody
            ________________

                      Cartagena-Carrasquillo  challenges   the  chain  of

            custody of the  cocaine.  Chain of  custody arguments usually

            go  to  the weight  of  the evidence  and  not admissibility.

            United  States v. Ortiz, 966  F.2d 707, 716  (1st Cir. 1992),
            ______________    _____

            cert.  denied, 113 S. Ct. 1005 (1993); United States v. Luna,
            _____  ______                          _____________    ____

            585 F.2d 1, 6 (1st Cir.), cert. denied, 439 U.S. 852  (1978).
                                      _____ ______

            Review is for abuse of discretion.  Ortiz, 966 F.2d at 716.
                                                _____

                      Defendant argues that the  deal was for 2 kilograms

            of  cocaine while  the  amount found  in  the tan  bag  was 3

            kilograms,  that one bag of  cocaine was opened  while at the

            Lugo-L pez house, but that  no bags were opened when  the DEA

            agents  found them, and that the bags were found abandoned in

            a high crime area.  From this, the defendant says, there is a

            chance of altered or substituted evidence.  This is a classic

            weight of the evidence argument.  

                      The  government  agents  testified  as   to  proper

            custodial  procedures  and  the evidence  suggests  plausible

            explanations  for   the  discrepancies   noted.    One   such

            explanation  is that  there were  four kilograms  originally,

            that  the  opened one  kilogram bag  of  cocaine was  sold to

            another when Cartagena-Carrasquillo left Lugo-L pez' house to

            make a sale, thus accounting for the remaining 3 kilograms of

            cocaine and the $12,900 in cash found in the bag later.





                                         -22-
                                          22















            Other Evidentiary Rulings
            _________________________

                      Lugo-L pez complains that the trial court  erred in

            curtailing the cross-examination of an informant.  

            Limitations   on  the  cross-examination  of  a  witness  are

            reviewed for abuse  of discretion.  United  States v. Boylan,
                                                ______________    ______

            898  F.2d 230,  254 (1st  Cir.), cert.  denied, 498  U.S. 849
                                             _____  ______

            (1990).   Although  a  defendant does  have a  constitutional

            right  to  cross-examine witnesses  against him,  U.S. Const.

            amend. VI, that  right is  not unlimited.   United States  v.
                                                        _____________

            Corgain, 5  F.3d 5, 8  (1st Cir. 1993).   Here, the  district
            _______

            court  refused   to  allow   cross-examination   as  to   the

            confidential informant's  failure to file income tax returns.

            The informant's  motive and  potential bias had  already been

            established.   Defense counsel  also had already  pointed out

            many  inconsistencies  in  his  trial testimony  as  well  as

            discrepancies between the informant's testimony at  trial and

            his earlier testimony both  before the grand jury and  at the

            mistrial.  The jury had ample information from which to gauge

            the credibility of this witness.  See, e.g., United States v.
                                              ___  ____  _____________

            Rodriguez, 63 F.3d  1159, 1168  (1st Cir. 1995).   The  trial
            _________

            court  did  not  abuse  its  discretion  in  limiting  cross-

            examination on the failure to file income tax returns.

                      Lugo-L pez  also  complains   about  the   district

            court's allowance of the withdrawal of a number of pages of a

            trial transcript  that had  previously been admitted.   There



                                         -23-
                                          23















            was  no  objection to  this withdrawal  by Lugo-L pez  at the

            time; he waited  until after the verdicts had  been returned.

            Even assuming  that we should  consider this issue  given the

            late  objection,  the  error,  if  any,  was  harmless.   The

            district court ruled that this  portion of the transcript was

            inadmissible  as irrelevant and confusing to  the jury.  Such

            was  well within its discretion.   Moreover, the only purpose

            defendant gives to be served by the portion of the transcript

            that was  withdrawn was to further  undermine the credibility

            of the confidential informant.   Because the jury  had enough

            information to  determine  such  credibility,  there  was  no

            prejudice.

                      Cartagena-Carrasquillo  argues  that  the  district

            court erred in allowing a DEA  agent to give his opinion that

            annotations on the back of a business presentation  card were

            related to a drug transaction.  Cartagena-Carrasquillo argues

            that  the annotations  were simply  the addition  of numbers,

            facially innocent.   This court  has previously held  that it

            was well within  a trial court's  discretion to admit  expert

            testimony  identifying  a similar  document  --  a column  of

            numbers added together -- as a drug ledger and explaining its

            contents.   United States v. Echeverri, 982  F.2d 675, 680-81
                        _____________    _________

            (1st  Cir. 1993).  There was similarly no abuse of discretion

            here.





                                         -24-
                                          24















            Sentencing
            __________

                      Figueroa-Garc a asserts he should not have received

            any more  than the mandatory  minimum sentence of  60 months,

            because, he  asserts, there  was  never any  evidence of  his

            guilt  or, at  least, hardly  any evidence.   The  jury found

            otherwise.  He  was sentenced  to 78 months  after the  court

            found  he   had  not  accepted  responsibility   and  so  was

            ineligible  for  a   two-level  decrease  under  U.S.S.G.    

            3E1.1(a).   He claims  he was  entitled to  a reduction  as a

            minor participant under U.S.S.G.   3B1.2(a).

                      The  defendant has the burden of showing that he is

            entitled  to  a  reduction  in  his  offense  level  under   

            3B1.2(a).   United States v.  Ocasio, 914 F.2d  330, 332 (1st
                        _____________     ______

            Cir. 1990).  On appeal, the defendant must establish that the

            district court's determination was clearly erroneous.  Id. at
                                                                   ___

            333.   Defendant  has  not met  that  burden.   The  evidence

            clearly  shows that he was  more than a  minor participant in

            the  criminal venture.  He and Cartagena-Carrasquillo arrived

            at the Lugo-L pez house  together with kilogram quantities of

            cocaine.   They left together  to sell a  kilogram to someone

            else and  returned together.   When the transaction  with the

            confidential   informant    failed,   Figueroa-Garc a   drove

            Cartagena-Carrasquillo  away.   Figueroa-Garc a then  led the

            agents in  a car chase and  fled from the law.   The district





                                         -25-
                                          25















            court  did not  clearly err  by denying  a reduction  under  

            3B1.2(a).  Figueroa-Garc a was not a minor participant.

                      Affirmed.
                      _________















































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